


  It is ordered and adjudged by this court, that the judgment of the said Court of Appeals be, and the same hereby is, reversed and said cause is hereby remanded to the Court of Common Pleas of Montgomery county, Ohio, with instructions to sustain the demurrer to the petition, for the reason that statutes in derogation of the common' law must be strictly construed, and under a strict construction of Section 712, General Code, presentation of a cheek for certification is not a presentation for “collection and payment”.
  
   Fulton, Supt. of Banks,
  
  v
  
   . B. R. Baker-Toledo Co., post,
  
  226.
 


   Judgment reversed and cause remanded.
  


  Weygandt, C. J., Allen, Stephenson, Jones, Matthias, Bevis and Zimmerman, JJ., concur.
 
